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Local 2255 Judgment (Rev. /1)




                                    UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NORTH DAKOTA



                                               )
Alfonso Rodriguez, Jr.,
                                               )     JUDGMENT ON PETITION
          Petitioner/Defendant                 )     PURSUANT TO 28 U.S.C. § 2255
                                               )
                    v.                         )
                                               )     Criminal Case No. 2:04-cr-55
United States of America,                      )
                                               )     Civil Case No.      2:11-cv-88
          Respondent/Plaintiff.                )


          IT IS ORDERED AND ADJUDGED that the Petitioner’s Motion to Vacate, Set Aside,

or Correct Sentence under 28 U.S.C. § 2255 is JUDQWHGLQSDUWDQGGHQLHGLQSDUW, pursuant to the

Order filed on September 3, 2021.



                                               CLERK OF COURT
                                                /s/ Pamela Bloomquist-Burman, Deputy Clerk
Date: September 3, 2021                        ______________________________________
                                                       6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
